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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Howard Cohan
                                        Plaintiff,
v.                                                       Case No.: 1:17−cv−07752
                                                         Honorable Thomas M. Durkin
Sunstone North State Lessee, Inc.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 28, 2017:


       MINUTE entry before the Honorable Thomas M. Durkin:Defendant's agreed
motion for extension of time to 12/26/2017 to answer or otherwise plead [7] is granted.
The parties are to exchange mandatory initial discovery by 1/25/2018. No appearance is
required on 11/29/2017. Mailed notice(srn, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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